Opinion issued August 15, 2024




                                      In The

                               Court of Appeals
                                     For The

                          First District of Texas
                             ————————————
                              NO. 01-23-00689-CR
                            ———————————
                 DANTRAVIAS JAMAL MCNEIL, Appellant
                                        V.
                       THE STATE OF TEXAS, Appellee


                    On Appeal from the 230th District Court
                            Harris County, Texas
                        Trial Court Case No. 1686685


                          MEMORANDUM OPINION

      Appellant Dantravias Jamal McNeil pleaded guilty to the first-degree felony

offense of murder. See TEX. PENAL CODE § 19.02 (b), (c). After a presentence

investigation hearing, the trial court signed a judgment of conviction and sentenced
Appellant to sixty years’ confinement1 in the Correctional Institutions Division of

the Texas Department of Criminal Justice.2 Appellant timely filed a notice of

appeal.

      Appellant’s appointed counsel has filed a motion to withdraw, along with a

supporting brief, stating the record presents no reversible error and requesting

permission to withdraw from his representation of Appellant.         See Anders v.

California, 386 U.S. 738 (1967). Because we find no meritorious issues after an

independent review of the record, we affirm the trial court’s judgment and grant

counsel’s motion to withdraw.

                                     Discussion

      Counsel filed an Anders brief stating he has complied with all Anders

requirements and requesting he be allowed to withdraw from his representation.

Counsel states his professional opinion that after reviewing the record, no arguable

grounds for reversal exist and thus any appeal of the trial court’s judgment would

lack merit and be frivolous. See id. at 744. Counsel’s brief meets the minimum

Anders requirements by presenting a professional evaluation of the record and

explaining why, after careful review of the record, he is unable to advance any

grounds of error warranting reversal. See id.; Mitchell v. State, 193 S.W.3d 153,

1
      Appellant’s sentence was reduced by the 574 days he served in jail awaiting
      conviction.
2
      No fines were assessed against Appellant.

                                          2
155 (Tex. App.—Houston [1st Dist.] 2006, no pet.). The State waived its right to

file a response, and Appellant did not file a pro se brief in response to counsel’s

Anders brief.3

      In Anders, the United States Supreme Court held that “the responsibility to

determine whether an appeal is frivolous in nature lies with the appellate court—

not with the attorney of record.” Garner v. State, 300 S.W.3d 763, 765–66 (Tex.

Crim. App. 2009).     Thus, we must independently decide whether the present

appeal raises any meritorious “arguable grounds” for review. Id. at 767. If we

determine that arguable grounds for appeal exist, we must “remand the cause to the

trial court so that new counsel may be appointed to brief the issues.” Bledsoe v.

State, 178 S.W.3d 824, 827 (Tex. Crim. App. 2005). If, on the other hand, we

conclude the appeal is frivolous, we may issue an opinion affirming the trial

court’s judgment and explaining that, after reviewing the record, we find no

reversible error. Id. at 826–27. The appellant may challenge that holding by filing

a petition for discretionary review with the Texas Court of Criminal Appeals. Id.
at 827 &amp; n.6.




3
      Appellant’s appointed counsel advised the Court that he provided Appellant with a
      copy of counsel’s motion to withdraw and of his brief, and he advised Appellant
      of his right to review the trial record and prepare his own appellate brief. In
      addition, appointed counsel provided Appellant with the form required to obtain a
      free copy of the record and the address to which the form should be mailed.

                                          3
      After conducting an independent review of the record on appeal, we

conclude there is no reversible error in the record, there are no arguable grounds

for review, and the appeal is frivolous. See Anders, 386 U.S. at 744 (emphasizing

that reviewing court—and not counsel—determines, after full examination of

proceedings, whether appeal is frivolous); Garner, 300 S.W.3d at 767 (reviewing

court must determine whether arguable grounds for review exist); Bledsoe, 178

S.W.3d at 827 (same); Mitchell, 193 S.W.3d at 155 (reviewing court determines

whether arguable grounds exist by reviewing entire record).

                                     Conclusion

      We affirm the judgment of the trial court and grant counsel’s motion to

withdraw.4    Court-appointed counsel James F. Pons must immediately send

Appellant the notice required under Texas Rule of Appellate Procedure 6.5(c) and

file a copy of the notice with the Clerk of this Court. See TEX. R. APP. P. 6.5(c).

                                   PER CURIAM

Panel consists of Justices Hightower, Rivas-Molloy, and Farris.

Do not publish. TEX. R. APP. P. 47.2(b).




4
      Appointed counsel still has a duty to inform Appellant of the result of this appeal
      and that he may, on his own, pursue discretionary review with the Texas Court of
      Criminal Appeals. See Ex parte Wilson, 956 S.W.2d 25, 27 (Tex. Crim. App.
      1997); Ex parte Owens, 206 S.W.3d 670, 674 (Tex. Crim. App. 2006) (applying
      Ex parte Wilson to Anders case).
                                           4
